[EDITOR'S NOTE: This case is unpublished as indicated by the issuing court.]MEMORANDUM OF DECISION
This is a tax appeal, from a decision the defendant's Board of Tax Review, challenging the validity of the assessment laid against real estate located in the Town of Clinton.
After a full hearing, the parties present or represented by counsel, based upon a preponderance of the credible, relevant and CT Page 3248 legally admissible evidence, the court finds, determines and rules as follows:
On or about October 1, 1990, the plaintiff, Port Clinton Marina, was the owner of certain premises known as 33 Indian River Drive, Clinton, Connecticut.
Prior to October 1, 1990, the Town of Clinton, pursuant to General Statute Section 12-62, conducted a revaluation of all real property within its jurisdiction and included therein the real estate subject to this appeal.
As of the grand list of October 1, 1990 the defendant's Assessor increased the Fair Market Value of said real estate to $1,467,942.00 including land and buildings.
The plaintiff appealed to the Board of Tax Review, which board, by decision, dated March 7, 1991, denied a change in assessment. This appeal followed.
At trial, the plaintiff's expert appraiser, Tom Merola, utilizing the comparable sales, cost, and income approaches, opined that the real property at 33 Indian Drive had a Fair Market Value of $1,030,000.00, land and improvements.
The defendant's expert appraiser, John J. Valente, based upon the direct sales comparison and the cost approach, testified that he found the Fair Market Value of 33 Indian Drive to be $1,468,000.00, land and improvements.
In valuating property, the trial court is charged with the duty of making an independent valuation of the property involved.E  F Realty Co. v. Commissioner of Transportation, 173 Conn. 247,253, 377 A.2d 302 (1977). The trier is not limited to arbitrating the differing opinions of the witnesses but is to make determinations in the light of all the circumstances, the evidence and his general knowledge. Pandolphe's Auto Parts, Inc. v. Manchester, 181 Conn. 217,220, 435 A.2d 24 (1980); Birnbaum v. Ives, 163 Conn. 12, 21,301 A.2d 262 (1972). The trier may accept or reject the testimony of an expert, offered by one party or another, in whole or in part. Smith v.Smith, 183 Conn. 121, 123, 438 A.2d 847 (1981); Richard V.A. Waldman  Sons, Inc., 155 Conn. 343, 348, 232 A.2d 307 (1967); see also Pandolphe's Auto Parts v. Manchester, supra, 221. Ultimately, the determination of the value of real estate is a matter of opinion, which eventually depends upon the considered judgment of the trial CT Page 3249 judge who takes into account the different opinions expressed by the various witnesses. Moss v. New Haven Redevelopment Agency,146 Conn. 421, 425, 151 A.2d 693 (1959).
Applying the aforesaid law to the facts and circumstances of this case, the court, in agreement with the assessment of the Town of Clinton finds the true and actual value of the property, subject to this appeal, as of October 1, 1990 to be $1,467,942.00, land and improvements and the assessed value, at 70%, to be $1,027,560.00, land and improvements
Accordingly, judgment may enter for the defendant, Town of Clinton, against the plaintiff, Port Clinton Marina, dismissing me appeal and for costs suit.
SPALLONE STATE TRIAL REFEREE
Judgment enters in accordance with the foregoing Memorandum Of Decision
Jonathon W. Field, Deputy Chief Clerk